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                     UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6,1
                                Eastern Division

Scott Dolemba
                                         Plaintiff,
v.                                                     Case No.: 1:15−cv−02554
                                                       Honorable Samuel Der−Yeghiayan
Stephens & Michaels Associates, Inc.
                                         Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, September 22, 2015:


        MINUTE entry before the Honorable Samuel Der−Yeghiayan: Plaintiff having
filed a notice of voluntary dismissal, this case is hereby dismissed with prejudice, with
each party to bear its own costs and fees. All pending dates and motions, if any, are
hereby stricken as moot. Civil case terminated. Mailed notice (mw, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
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